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                    EXHIBIT A
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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No.

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 666(a)(2):
                                             Federal Program Bribery]
13   GABRIEL CHAVEZ,

14             Defendant.

15

16        The Acting United States Attorney charges:
17                          [18 U.S.C. §§ 666(a)(2), 2(a)]
18        At times relevant to this Information:
19   A.   PERSONS AND ENTITIES
20        1.    The City of Baldwin Park, California (the “City”) was a
21   local government located within Los Angeles County in the Central
22   District of California.     The City received in excess of $10,000 under
23   federal programs in both 2017 and 2018.
24        2.    The City was governed, in part, by its City Council, which
25   adopted legislation, set policy, adjudicated issues, and established
26   the budget for the City.
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 1        3.     The City Council was comprised of four City Council

 2   members and a mayor, all of whom were elected at large by the City’s

 3   registered voters.

 4        4.     Ricardo Pacheco (“Pacheco”) was first elected to the City

 5   Council in 1997 and held that elected position until 2020.           He also

 6   previously served as the City’s Mayor Pro Tempore.          In both roles,

 7   Pacheco was an agent of the City.

 8        5.     Defendant GABRIEL CHAVEZ founded Market Share Media Agency,

 9   an internet marketing company, in 2012.

10   B.   THE SCHEME

11        6.     In or around June 2017, the City started the process of
12   permitting the sale, cultivation, and manufacture of marijuana within
13   the City’s limits.    Shortly thereafter, Pacheco decided to corruptly
14   solicit bribe payments from companies seeking marijuana development
15   agreements and related permits (“marijuana permits”) in the City.             In
16   exchange for the payments, Pacheco would agree to assist and assist
17   the companies, using his official City position, with obtaining
18   marijuana permits.
19        7.     Pacheco elected to use an intermediary to funnel the bribe
20   payments to himself in an effort to disguise the true nature of the
21   payments.   The scheme would operate as follows: a company seeking a
22   marijuana permit would pay the intermediary for supposed “consulting”
23   services, the intermediary would then split a portion of the money
24   with Pacheco, and Pacheco would then vote in favor of the company’s
25   desired marijuana permit in exchange for the payment.          Pacheco would
26   also agree to use his influence as a City Council member to ensure
27   that other members of the City Council voted in favor of the
28   marijuana permit as well.
                                            2
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 1         8.    Defendant CHAVEZ was asked by Pacheco to act as an

 2   intermediary to funnel bribes to Pacheco, and defendant CHAVEZ

 3   agreed.

 4         9.    To help conceal the bribery scheme, defendant CHAVEZ

 5   obtained a template for a sham consulting agreement from Person 1,

 6   which defendant CHAVEZ thereafter used to facilitate and disguise the

 7   scheme.

 8         10.   Defendant CHAVEZ used his company, Market Share Media

 9   Agency, to funnel bribe payments to Pacheco in exchange for Pacheco’s

10   votes and influence over the City’s permitting process to secure

11   marijuana permits for two companies, Marijuana Company 3 and

12   Marijuana Company 4.

13         11.   Defendant CHAVEZ obtained bribe payments to pass to Pacheco

14   from Person 14, who was helping Marijuana Company 4 obtain its

15   marijuana permit.    To conceal the true nature of the payments, the

16   bribes defendant CHAVEZ accepted were disguised as consulting

17   payments from Person 14’s consulting company to defendant CHAVEZ’s

18   company, Market Share Media Agency.        Defendant CHAVEZ kept the

19   remainder of the payments not provided to Pacheco in exchange for

20   defendant CHAVEZ’s services as an intermediary for the bribe

21   payments.

22   ///

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 1   C.   THE BRIBERY

 2        12.   Beginning in or around August 2017 and continuing to in or

 3   around March 2018, in Los Angeles County, within the Central District

 4   of California, defendant CHAVEZ, aiding and abetting Pacheco, Person

 5   14, and others, demanded, accepted, and agreed to accept things of

 6   value, namely, at least $125,000 from Marijuana Company 3 and at

 7   least $45,000 from Person 14 through Person 14’s consulting company,

 8   intending to influence and reward Pacheco, an agent of the City of

 9   Baldwin Park, in connection with a business, transaction, and series

10   of transactions of the City having a value of $5,000 or more,

11   specifically, the City’s approval and awarding of marijuana

12   development agreements and related permits.

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                                           Acting United States Attorney
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                                           Assistant United States Attorney
20                                         Chief, Public Corruption and
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21
                                           THOMAS F. RYBARCZYK
22                                         Assistant United States Attorney
                                           Public Corruption and Civil
23                                         Rights Section
24                                         LINDSEY GREER DOTSON
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25                                         Deputy Chief, Public Corruption
                                           and Civil Rights Section
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